Case 9:22-cv-00031-MJT Document 1-1 Filed 03/03/22 Page 1 of 5 PageID #: 24

                                                                          Service of Process
                                                                          Transmittal
                                                  2                       10/01/2020
                                                                          CT Log Number 538330857
 TO:      Lilly Guadarrama
          Netflix, Inc.
          100 Winchester Cir
          Los Gatos, CA 95032-1815

 RE:      Process Served in Texas

 FOR:     Netflix, Inc. (Domestic State: DE)




 ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

 TITLE OF ACTION:                    THE STATE OF TEXAS, Pltf. vs. NETFLIX, INC., Dft.
 DOCUMENT(S) SERVED:                 -
 COURT/AGENCY:                       None Specified
                                     Case # 13731
 ON WHOM PROCESS WAS SERVED:         C T Corporation System, Dallas, TX
 DATE AND HOUR OF SERVICE:           By Process Server on 10/01/2020 at 11:26
 JURISDICTION SERVED :               Texas
 APPEARANCE OR ANSWER DUE:           None Specified
 ATTORNEY(S) / SENDER(S):            None Specified
 ACTION ITEMS:                       CT has retained the current log, Retain Date: 10/01/2020, Expected Purge Date:
                                     10/06/2020

                                     Image SOP

                                     Email Notification, Lilly Guadarrama lilly@netflix.com

                                     Email Notification, Haley Ly legal@netflix.com

 SIGNED:                             C T Corporation System
 ADDRESS:                            1999 Bryan St Ste 900
                                     Dallas, TX 75201-3140
 For Questions:                      877-564-7529
                                     MajorAccountTeam2@wolterskluwer.com




                                                                          Page 1 of 1 / RS
                                                                          Information displayed on this transmittal is for CT
                                                                          Corporation's record keeping purposes only and is provided to
                                                                          the recipient for quick reference. This information does not
                                                                          constitute a legal opinion as to the nature of action, the
                                                                          amount of damages, the answer date, or any information
                                                                          contained in the documents themselves. Recipient is
                                                                          responsible for interpreting said documents and for taking
                                                                          appropriate action. Signatures on certified mail receipts
                                                                          confirm receipt of package only, not contents.
        Case 9:22-cv-00031-MJT Document 1-1 Filed 03/03/22 Page 2 of 5 PageID #: 25



                                                                    Wolters Kluwer

                          PROCESS SERVER DELIVERY DETAILS




Date:                       Thu, Oct 1, 2020

Server Name:                Drop Service




Entity Served                NETFLIX, INC.

Agent Name                   CT CORPORATION SYSTEM

Case Number                 13731

J urisdiction               TX




                                                           1
      Case 9:22-cv-00031-MJT Document ,1-1 Filed 03/03/22 Page 3 of 5 PageID #: 26

4
     SUMMONS
                                     THE STATE OF TEXAS
                                       CAUSE NUMBER 13,731

            THE STATEOF TEXAS VS. NETFLIX,INC.

            To any Peace Officer ofthe State of Texas, Greeting:

      YOU ARE HEREBY COMMANDED to summon Netflix, Inc., by serving it's Registered
     Agent, CT Corporation System, 1999 Bryan Street Suite 900, Dallas, TX 75201-3136 USA

     To appear in person IN THE 1-A DISTRICT COURT OF TYLER COUNTY,TEXAS,in the
     City of Woodville, Texas, at or before 10:00 a.m. the Monday next after the expiration of 20
     days after you were served with this summons. Then and there to answer The State of Texas
     upon a charge pending in said court charging you with the offense of
    PROMOTION OF LEWD VISUAL MATERIAL DEPICTING CHILD
    (certified copy of indictment attached)
     Texas Penal Code 43.262 — FS

    If you fail to appear in response to this summons, or appear but do not plead, you will be
    considered to be present in person, and the court shall enter a plea of not guilty on your behalf
    and may proceed with trial,judgment, and sentencing.

         WITNESS my hand and seal of office, at Woodville, Texas, this 25th day of
    SEPTEMBER,2020.

    BOND: N/A


                                                         CL      -DISTRICT COURT
                                                         TYLER COUNTY,TEXAS


                                    OFFICER'S RETURN
                                                             ,
          Came to hand the /IT day of OG7VezA, 2020, at 9.'S/-/ o'clock A . m.,
    And executed on the  /fr day of OG70- 64-4, ,2020, at /0.-3/ o'clock 4.m.
    By0Delivering()Mailing to:
    Fees — Summons  $
    Mileage(      ) $
           Total:
                                                Sheriff, Tyler County, Texas
                                                                          ,Sheriff
                                          G-44(40                         ,Dept* 7,-K,07,04ente
  Case 9:22-cv-00031-MJT Document 1-1 Filed 03/03/22 Page 4 of 5 PageID #: 27



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                                                        STATE OF TEXAS


THE STATE OF TEXAS
VS.                                                                         CAUSE NO.
NETFLIX,INC.                                                                BOND
100 WINCHESTER CIRCLE
LOS GATOS,CA 95032, USA


CHARGE: PROMOTION OF LEWD VISUAL MATERIAL DEPICTING CHILD
        PC 43.262

                                                      INDICTMENT
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

      THE GRAND JURY for Tyler County, Texas duly selected, impaneled, sworn,
charged, and organized as such at the JANUARY term A.D. 2020 of the 1 A
District Court for said County, upon their oaths present in and to said court at
said term that NETFLIX, INC, hereinafter styled Defendant, on or about the 15TH
day of SEPTEMBER A.D. 2020, and before the presentment of this indictment,
in the County and State aforesaid, DID THEN AND THERE

knowingly promote visual material which depicts the lewd exhibition of the
genitals or pubic area of a clothed or partially clothed child who was younger
than 18 years of age at the time the visual material was created, which appeals
to the prurient interest in sex, and has no serious literary, artistic, political, or
scientific value, to wit: by issuing or selling or providing or delivering or
distributing or disseminating or transmitting or publishing or exhibiting or
presenting or advertising the film titled Cuties, also known as Mignonnes, or
offering or agreeing to issue, sell, provide, deliver, distribute, disseminate,
transmit, publish, exhibit, present, or advertise said film, and the promotion of
said film was authorized or recklessly tolerated by a high managerial agent of
Netflix, Inc., namely, Wilmot Reed Hastings Jr. or Theodore Anthony Sarandos
Jr., acting in behalf of Netflix, Inc. and within the scope of the agent's office or
employment at Netflix, Inc.



AGAINST THE PEACE AND DIGNITY OF THE STATE.




 The gate of Texas
 Pitiiity.of Tyler                             . .
  .. 1;,,Cffyr1. Pounds,-: District'Clerk: in .and for Tyler County,
 Tettti,do,hereby•certify- that the foregoing is a true and correct
 toppllffe original as same appears in my office. . ..
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 Texas his :.                   y of                    ,2L
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                       CHYRL POUN S, DIST .1,CT CLER '-'
                       T YLER COUNTY, TEXAS •

                       BY -                                                6     ://
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Case 9:22-cv-00031-MJT Document 1-1 Filed 03/03/22 Page 5 of 5 PageID #: 28



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